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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 KIMBERLY STARLING, on behalf of                     Civil Case No.: 3:21-cv-818-S
 herself and all others similarly situated,

                            Plaintiff,                  FIRST AMENDED COMPLAINT -
         v.                                                    CLASS ACTION

 KEYCITY CAPITAL, LLC

                            Defendant.

                                         INTRODUCTION

        1.      This action arises out of Defendant, KeyCity Capital, LLC’s (“Defendant” or

“KeyCity”), practice of making prerecorded telemarketing calls to individuals on the National Do-

Not-Call Registry without prior express written consent (or any consent whatsoever), in violation

of two separate provisions of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

(“TCPA”) and provisions of the Texas Business & Commerce Code.

        2.      Plaintiff has done no business with Defendant and has never provided Defendant

prior express written consent to call her telephone with prerecorded messages.

        3.      Plaintiff’s telephone number was registered on the National Do-Not-Call Registry

at the time of the calls.

        4.      Accordingly, Plaintiff brings this TCPA action on behalf of herself and four classes

of similarly situated individuals under 47 U.S.C. §§ 227(b) and 227(c), and Texas Business &

Commerce Code §§ 302.302(a) and 305.053.




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                                 JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, which is a federal statute.

       6.      This Court also has supplemental jurisdiction over the state law claims under 28

U.S.C. § 1367(a), because it is so closely related to the federal claims that they form a single case

or controversy.

       7.      This Court has jurisdiction over KeyCity because KeyCity conducts business

transactions in this District and has committed tortious acts in this District.

       8.      Venue is proper in this District because Defendant conducts significant amounts of

business transactions within this District and because some of the wrongful conduct giving rise to

this case occurred in, was directed to, and/or emanated from this District.

                                             PARTIES

       9.      Plaintiff Kimberly Starling (“Starling”) is, and at all times mentioned herein was, a

citizen and resident of Southlake, Texas.

       10.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153(39).

       11.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by Tex.

Bus. & Com. Code § 1.201(b)(27)

       12.     Plaintiff is, and at all times mentioned herein was, a “purchaser” as defined by Tex.

Bus. & Com. Code § 302.001(3).

       13.     Defendant is, and at all times mentioned herein was, a Texas limited liability

company headquartered at 1209 South White Chapel Blvd. Suite 180, Southlake, Texas 76092.

       14.     Defendant is, and at all times mentioned herein was, a “person” as defined by 47


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U.S.C. § 153 (39).

       15.     Defendant is, and at all times mentioned herein was, a “person” as defined by Tex.

Bus. & Com. Code § 1.201(b)(27).

       16.     Defendant is, and at all times mentioned herein was, a “seller” as defined by Tex.

Bus. & Com. Code § 302.001(5).

                           GENERAL FACTUAL ALLEGATIONS

       17.     Defendant, or someone acting on its behalf and at its direction, makes prerecorded

telemarketing calls marketing its investment funds and services.

       18.     Upon information and belief, Defendant, or someone acting on its behalf and at its

direction, utilizes a mechanism or technology that allows Defendant to leave a “ringless” voicemail

that delivers a prerecorded message to the recipient’s telephone.

       19.     Upon information and belief, Defendant, or someone acting on its behalf and at its

direction, places two calls very close in time, which causes the second telephone call to terminate

directly in the recipient’s voicemail, allowing Defendant to play its prerecorded message.

       20.     The first telephone call comes from an unknown number that does not provide a

“Caller ID.”

       21.     The first call terminates after a brief duration (e.g., less than a single ring).

       22.     Because each of these calls were advertising, or a pretext for advertising

Defendant’s products and/or services, they constitute telemarketing and telephone solicitations.

                  PLAINTIFF STARLING’S FACTUAL ALLEGATIONS

       23.     Plaintiff Starling is the user of a cellular telephone number ending in 6140.

       24.     Plaintiff Starling’s cellular telephone number ending in 6140 is a residential

number.


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       25.     Plaintiff Starling does not have a landline with an active ringer. Plaintiff Starling’s

cellular number is used for all her telephone needs.

       26.     Plaintiff Starling cellular telephone number ending in 6140 is a telephone number

assigned to a cellular telephone service. Breda v. Cellco P’ship, 934 F.3d 1, 4–5 (1st Cir. 2019);

Susinno v. Work Out World, Inc., 862 F.3d 346, 349 (3d Cir. 2017); Osorio v. State Farm Bank,

746 F.3d 1242, 1257 (11th Cir. 2014); Satterfield v. Simon & Schuster, Inc., 569 F.3d 946 (9th Cir.

2009); Diugosh v. Directbuy, Inc. of San Antonio, 2013 WL 5773043 (W.D. Tex. Oct. 24, 2013).

       27.     Plaintiff Starling’s telephone number ending in 6140 has been on the National Do-

Not-Call Registry since December 31, 2004.

       28.     Plaintiff Starling received Defendant’s prerecorded telephone calls on her cellular

residential number ending in 6140 as described herein.

       29.     On February 19, 2021 at 1:47 PM, Plaintiff Starling received a call from an

“unknown number” that displayed “No Caller ID.”

       30.     On February 19, 2021 at 1:48 PM, a voicemail message from the number (817)

912-1569 appeared in Plaintiff Starling’s mailbox.

       31.     On February 22, 2021 at 2:23 PM, Plaintiff Starling received a call from an

“unknown number” that displayed “No Caller ID.”

       32.     On February 22, 2021 at 2:24 PM, a voicemail message from the number (817)

912-1569 appeared in Plaintiff Starling’s mailbox.

       33.     Plaintiff Starling never provided prior express written consent (or any consent) to

Defendant for these telephone calls.




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                                 DEFENDANT’S LIABILITY

        34.    Because Defendant’s calls constitute telemarketing, Defendant was required to

obtain prior express written consent from the persons to whom Defendant made calls.

        35.    “Prior express written consent” is specifically defined by statute as:

        [A]n agreement, in writing, bearing the signature of the person called that clearly
        authorizes the seller to deliver or cause to be delivered to the person called
        advertisements or telemarketing messages using an automatic telephone dialing
        system or an artificial or prerecorded voice, and the telephone number to which the
        signatory authorizes such advertisements or telemarketing messages to be
        delivered.

47 C.F.R. §64.1200(f)(8)

        36.    Plaintiff Starling never provided Defendant with any consent, written or otherwise.

        37.    Accordingly, each of Defendant’s telemarketing calls to Plaintiff Starling using an

artificial or prerecorded voice violated 47 U.S.C. § 227(b).

        38.    For violations of 47 U.S.C. § 227(b), Plaintiff is entitled to a minimum of $500 per

call.

        39.    Plaintiff is entitled to $1500 per call if Defendant’s actions are found to be knowing

or willful.

        40.    In addition, the TCPA prohibits making “any telephone solicitation” to a telephone

number on the National Do-Not-Call Registry. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c); 47

C.F.R. § 64.1200(e).

        41.    Plaintiff’s number was on the National Do-Not-Call Registry prior to the calls.

        42.    While the exact number of calls to Plaintiff’s telephone number will be determined

in discovery, Plaintiff has received more than two (2) such telemarketing calls in a 12-month

period, as required by 47 U.S.C. § 227(c) for violations of § 227(c).

        43.    Accordingly, for violations of 47 C.F.R. § 64.1200(c), Plaintiff is entitled to an

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additional $500 per call.

       44.     Plaintiff is entitled to an additional $1500 per call if Defendant’s actions are found

to be knowing or willful.

       45.     In addition, pursuant to § 305.053(a) of the Texas Business & Commerce Code, a

person who receives a communication that violates 47 U.S.C. § 227, or a regulation adopted under

that provision, may bring an action against the person who originates the communication for an

injunction, damages or both.

       46.     As set forth above, Defendant violated 47 U.S.C. § 227, or a regulation adopted

under that provision.

       47.     Accordingly, Plaintiff is entitled to a permanent injunction, and the greater of

$500.00 for each violation or Plaintiff’s actual damages for each call made by Defendant. See

Tex. Bus. & Com. Code § 305.053(b).

       48.     Plaintiff is entitled to an additional $1500 per call if Defendant’s actions are found

to be knowing or intentional. See Tex. Bus. & Com. Code § 305.053(c).

       49.     In addition, pursuant to § 302.101 of the Texas Business & Commerce Code, a

seller is prohibited from engaging in telephone solicitation from a location in this state or to a

purchaser located in this state unless the seller obtains a registration certificate from the Office of

the Secretary of State for the business location from which the solicitation is made.

       50.     Defendant violated § 302.101 of the Texas Business & Commerce Code when it

engaged in telephone solicitation without obtaining a registration certificate from the Office of the

Secretary of State.

       51.     Accordingly, for violations of § 302.101 of the Texas Business & Commerce Code,

Plaintiff is entitled to an award of no more than $5,000 for each violation pursuant to § 302.302(a)


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of the Texas Business & Commerce Code.

       52.     In addition, pursuant to § 302.302(d) of the Texas Business & Commerce Code,

Plaintiff is entitled to recover all reasonable cost of prosecuting the action, including court costs

and investigation costs, deposition expenses, witness fees, and attorney’s fees.

       53.     Plaintiff has suffered concrete harm because of Defendant’s unwanted and

unsolicited telemarketing calls, including, but not limited to:

                  Lost time tending to and responding to the unsolicited calls and voicemail

                   messages;

                  Invasion of Privacy; and

                  Nuisance.

       54.     These forms of actual injury are sufficient for Article III standing purposes.

                               CLASS ACTION ALLEGATIONS

       55.     Plaintiff brings this action under Fed. R. Civ. P. 23 on behalf of two categories of

proposed “Classes,” the “TCPA Classes” and the “Texas Classes” as defined as follows:

                                      THE TCPA CLASSES

       Since April 6, 2017, Plaintiff and all persons within the United States to whose
       telephone number Defendant placed (or had placed on its behalf) a prerecorded or
       artificial voice telemarketing call.

       (“TCPA 227(b) Class”)

       Since April 6, 2017, Plaintiff and all persons within the United States to whose
       telephone number Defendant placed (or had placed on its behalf) two or more
       telemarketing calls in a 12-month period when the telephone number to which the
       telephone calls were made was on the National Do-Not-Call Registry at the time of
       the calls.

       (“TCPA 227(c) Class”)

                                        TEXAS CLASSES


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       Since April 6, 2017, Plaintiff and all residents of the State of Texas to whose
       telephone number Defendant placed (or had placed on its behalf) a telephone
       solicitation when Defendant did not hold a registration certificate as required by
       Tex. Bus. & Com. Code § 302.101.

       (“Texas § 302.101 Class”).

       Since April 6, 2017, Plaintiff and all residents of the State of Texas to whose
       telephone number Defendant: (1) placed (or had placed on its behalf) a call in
       violation of 47 U.S.C. § 227(b) or (2) Defendant placed (or had placed on its behalf)
       a call in violation of 47 U.S.C. § 227(c).

       (“Texas § 305.053 Class”)

(The TCPA Classes and the Texas Classes are collectively referred to herein as the

“Classes.”)

       56.       Excluded from the Classes are Defendant and any entities in which Defendant has

a controlling interest; Defendant’s agents and employees; any Judge and Magistrate Judge to

whom this action is assigned and any member of their staffs and immediate families, and any

claims for personal injury, wrongful death, and/or emotional distress.

       57.       The Members of the Classes for whose benefit this action is brought are so

numerous that joinder of all members is impracticable.

       58.       The exact number and identities of the persons who fit within the Classes are

ascertainable in that Defendant and third parties maintain written and electronically stored data

showing:

              a. The time period(s) during which Defendant placed its calls;

              b. The telephone numbers to which Defendant placed its calls;

              c. The telephone numbers for which Defendant had prior express written consent;

              d. The purposes of such calls; and

              e. The names and addresses of Class members.


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          59.      The Classes are comprised of hundreds, if not thousands, of individuals.

          60.      There are common questions of law and fact affecting the rights of the Members of

the Classes, including, inter alia, the following:

                a. Whether Defendant (or someone acting on its behalf) used an artificial or

                   prerecorded voice in placing its calls;

                b. Whether Defendant (or someone acting on its behalf) obtains prior express written

                   consent;

                c. Whether Defendant (or someone acting on its behalf) makes solicitations and

                   telemarketing calls to telephone numbers registered on the National Do-Not-Call

                   Registry;

                d. Whether Defendant had the requisite registration certificate as required by Tex.

                   Bus. & Com. Code § 302.101 when making telephone solicitations;

                e. Whether Plaintiff and the Classes were damaged thereby, and the extent of damages

                   for such violations; and

                f. Whether Defendant should be enjoined from engaging in such conduct in the future.

          61.      Plaintiff is a member of the Classes in that Defendant placed two or more

prerecorded telemarking calls to her phone in a one-year period when her telephone number was

on the National Do-Not-Call Registry.

          62.      Plaintiff’s claims are typical of the claims of the Members of the Classes in that

they arise from Defendant’s uniform conduct and are based on the same legal theories as these

claims.




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          63.   Plaintiff and all putative Members of the Classes have also necessarily suffered

concrete harm in addition to statutory damages, as all Members of the Classes spent time tending

to Defendant’s unwanted calls and suffered a nuisance and an invasion of their privacy.

          64.   Plaintiff has no interests antagonistic to, or in conflict with, the Classes.

          65.   Plaintiff will thoroughly and adequately protect the interests of the Classes, having

retained qualified and competent legal counsel to represent her and the Classes.

          66.   Defendant has acted and refused to act on grounds generally applicable to the

Classes, thereby making injunctive and declaratory relief appropriate for the Classes.

          67.   The prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications.

          68.   A class action is superior to other available methods for the fair and efficient

adjudication of the controversy since, inter alia, the damages suffered by each class member make

individual actions uneconomical.

          69.   Common questions will predominate, and there will be no unusual manageability

issues.

                                  FIRST CAUSE OF ACTION
                           Violations of the TCPA, 47 U.S.C. § 227(b)
                        (On Behalf of Plaintiff and the TCPA 227(b) Class)

          70.   Plaintiff and the proposed TCPA 227(b) Class incorporate the foregoing allegations

as if fully set forth herein.

          71.   Defendant placed, or had placed on its behalf, prerecorded telemarketing telephone

calls to Plaintiff’s and TCPA 227(b) Class Members’ telephone numbers without prior express

written consent.

          72.   Defendant has therefore violated 47 U.S.C. § 227(b).


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        73.     As a result of Defendant’s unlawful conduct, Plaintiff and TCPA 227(b) Class

Members are entitled to an award of $500 in statutory damages for each call, pursuant to 47 U.S.C.

§ 227(b)(3)(B).

        74.     Plaintiff and TCPA 227(b) Class Members are entitled to an award of treble

damages in an amount up to $1,500 for each call made knowingly and/or willfully, pursuant to 47

U.S.C. § 227(b)(3).

                                 SECOND CAUSE OF ACTION
                            Violations of the TCPA, 47 U.S.C. § 227(c)
                        (On Behalf of Plaintiff and the TCPA 227(c) Class)

        75.     Plaintiff and the proposed TCPA 227(c) Class incorporate the foregoing allegations

as if fully set forth herein.

        76.     Defendant placed, or had placed on its behalf, prerecorded telemarketing telephone

calls to Plaintiff’s and TCPA 227(c) Class Members’ residential telephone numbers.

        77.     Plaintiff’s and TCPA 227(c) Class Members’ telephone numbers were all on the

National Do-Not-Call Registry at the time of calls.

        78.     Plaintiff and TCPA 227(c) Class Members each received two or more such calls in

a 12-month period.

        79.     Plaintiff and TCPA 227(c) Class Members are entitled to an award of $500 in

statutory damages for each call pursuant to 47 U.S.C. § 227(c)(5).

        80.     Plaintiff and TCPA 227(c) Class Members are entitled to an award of treble

damages in an amount up to $1,500 for each call made knowingly and/or willfully, pursuant to 47

U.S.C. § 227(c)(5).

                                 THIRD CAUSE OF ACTION
                              Violations of Texas § 302.101 Class
                      (On Behalf of Plaintiff and the Texas § 302.101 Class)


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        81.      Plaintiff and the proposed Texas § 302.101 Class incorporate the foregoing

allegations as if fully set forth herein.

        82.      Defendant failed to obtain a registration certificate from the Office of the Secretary

of State pursuant to violated § 302.101 of the Texas Business and Commerce Code.

        83.      Defendant placed, or had placed on its behalf, telephone solicitations to Plaintiff’s

and Texas § 302.101 Class Members’ telephone numbers.

        84.      Defendant’s telephone solicitations were made from a location in Texas or to a

Plaintiff and Texas § 302.101 Class Members located in Texas.

        85.      Plaintiff and Texas § 302.101 Class Members are entitled to an award of up to

$5000 for each violation and all reasonable cost of prosecuting the action, including court costs

and investigation costs, deposition expenses, witness fees, and attorney’s fees.

                               FOURTH CAUSE OF ACTION
                              Violations of Texas § 305.053 Class
                      (On Behalf of Plaintiff and the Texas § 305.053 Class)

        86.      Plaintiff and the proposed Texas § 305.053 Class incorporate the foregoing

allegations as if fully set forth herein.

        87.      Defendant placed, or had placed on its behalf, in a 12-month period more than one

prerecorded telemarketing telephone calls to Plaintiff’s and Texas § 305.053 Class Members’

telephone numbers.

        88.      Each of these calls violated 47 U.S.C. § 227(b) and/or 47 U.S.C. § 227(c).

        89.      Plaintiff and Texas § 305.053 Class Members are entitled to:

              a. a permanent injunction to prevent any further violations of the Texas Business &

                 Commerce Code, Chapter 305;




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            b. the greater of $500 for each violation or Plaintiff’s and Texas § 305.053 Class

               Members’ actual damages (see Tex Bus. & Com. Code §304.053(b);

            c. the greater of $1,500 for each violation or Plaintiff’s and Texas § 305.053 Class

               Members’ actual damages for each call made knowingly or intentionally (see Tex.

               Bus. & Com. Code §304.053(c).

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

       A.      An order certifying the Classes as defined above, appointing Plaintiff as the

representatives of the Classes and appointing their counsel as Class Counsel;

       B.      An order declaring that Defendant’s actions, as set out above, violate 47 U.S.C.

§§ 227(b) and (c);

       C.      An order declaring that Defendant’s actions, as set out above, violate Tex. Bus. &

Com. Code § 302.101.

       D.      An award of injunctive and other equitable relief as necessary to protect the

interests of the Classes, including, inter alia, an order prohibiting Defendant from engaging in

the wrongful and unlawful acts described herein;

       E.      An award of statutory damages;

       F.      An award of treble damages;

       G.      An award of reasonable attorneys’ fees and costs, including the costs set forth

pursuant to Tex. Bus. & Com. Code § 302.302(d); and

       H.      Such other and further relief that the Court deems reasonable and just.




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                                         JURY DEMAND

       Plaintiff requests a trial by jury of all claims that can be so tried.



                                           Respectfully submitted,

                                           By:     /s/ Chris R. Miltenberger
                                                  Chris R. Miltenberger
                                                 Texas Bar Number: 14171200

                                           The Law Office of Chris R.
                                           Miltenberger, PLLC
                                           1360 N. White Chapel, Suite 200
                                           Southlake, Texas 76092-4322
                                           817-416-5060 (office)
                                           817-416-5062 (fax)
                                           chris@crmlawpractice.com

                                           Max S. Morgan, Esquire
                                           Eric H. Weitz, Esquire
                                           THE WEITZ FIRM, LLC
                                           1528 Walnut Street, 4th Floor
                                           Philadelphia, PA 19102
                                           Tel: (267) 587-6240
                                           Fax: (215) 689-0875
                                           max.morgan@theweitzfirm.com
                                           eric.weitz@theweitzfirm.com
                                           (Pro Hac Vice Forthcoming)

                                           Attorneys for Plaintiff


                                       Certificate of Service

       The undersigned certifies that the foregoing document was filed electronically through the
Court’s CM/ECF system in compliance with the Local Rules.

                                         By:      /s/ Chris R. Miltenberger
                                                   Chris R. Miltenberger




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